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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

    UNITED STATE OF AMERICA                     )
                                                )
           v.                                   )   Case No. 3:10-CR-120 JD
                                                )            3:10-CR-126 JD
    JEREMIE SHENEMAN                            )


                                     OPINION AND ORDER

          Now before the Court are several motions relating to the defendant Jeremie Sheneman’s

motion under § 2255. After his conviction and sentence became final on appeal, Mr. Sheneman

filed a motion under § 2255. At the Court’s direction, he subsequently filed a declaration stating

under penalty of perjury that the allegations in his petition were true and correct. [DE 2161].

After receiving that declaration, the Court screened the § 2255 motion and set a briefing

schedule.

          By a letter dated August 26, 2014, Mr. Sheneman moved to obtain the status of the

briefing schedule. [DE 220]. This letter was likely mailed before Mr. Sheneman received the

Court’s order setting the briefing schedule, so his question has likely already been answered, but

to avoid confusion, the Court GRANTS the motion and advises Mr. Sheneman of the status: The

government’s response to Mr. Sheneman’s motion under § 2255 is currently due on October 27,

2014, and if Mr. Sheneman wishes to file a reply brief in support of his motion, he may do so by

November 26, 2014.

          Mr. Sheneman has also filed two requests for discovery. The first, dated August 26, 2014,

seeks “the authentic applications in the government’s possession” that were obtained by either

the lender or the title company and that were fully signed by both the borrower and the loan

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    Citations to the docket refer to the docket numbers in the 3:10-CR-120 case.
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officer. [DE 221]. The second request, dated September 22, 2014, seeks the 302 reports of

interviews with various witnesses. [DE 222]. The government is ORDERED to respond to these

requests by October 27, 2014, in conjunction with its response to Mr. Sheneman’s § 2255

motion. Should the government object to these requests, Mr. Sheneman may file a reply brief in

support of these motions in conjunction with his reply to his § 2255 motion, by November 26,

2014. If any further briefing or submissions as to the § 2255 motion are warranted in light of any

discovery that may take place, the Court will invite those filings in a subsequent order.

       SO ORDERED.

       ENTERED: September 30, 2014


                                                     /s/ JON E. DEGUILIO
                                              Judge
                                              United States District Court




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